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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

     Southern District of New York
                                                                               i
 Case number (ff known)· _ _ _ _ _ _ _ _ _ _ Chapter 15                                                                                       0
                                                                               I                                                                   Check if this is an
                                                                                                                                                   amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor's name and case number (if known).



                                            Porcao Ucenciamentos E Participacoes SI-A and Brasil Foodservice Manager S.A.
1. Debtor's name


2. Debtor's unique identifier              For non·individual debtors:

                                                  0     Federal Employer Identification Number (EIN)

                                                  l>1' Other Sociedade Anomina                      Describe identifier - - - - - - - - - - - - ·

                                           For individual debtors:

                                                  0     Social Security number:    xxx - xx- _ _ _ _ _ _ __

                                                  D     Individual Taxpayer Identification number (ITIN): 9 xx - xx - _ _ _ _ _ _ __

                                                  0     Other _ _ _ _ _ _ _ _ _ __                  Describe identifier _ _ _ _ _ _ _ _ _ _ _ __



3. Name of foreign
   representative(s)                       Renan Miguel Saad

4. Foreign proceeding in which
   appointment of the foreign              Cause No. 0411258-46.2014.8.19.0001, ?th Commercial Court of Rio de Janeiro
   representative{s) occurred

s. Nature of the foreign
                                           Check one:
   proceeding
                                           D      Foreign main proceeding
                                           D      Foreign nonmain proceeding
                                           l!1    Foreign main proceeding, or in the alternative foreign nonmain proceeding


6. Evidence of the foreign                 li2I   A certified copy, translated into English, of the decision commencing the foreign proceeding and
   proceeding                                     appointing the foreign representative is attached.

                                           D      A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                           0      Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.




1.    Is this the only foreign             D      No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
      proceeding with respect to                  debtor is pending.)
      the debtor known to the
      foreign representative(s)?
                                           li2I   Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                     page 1
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Debtor       Porcao Licenciamen\os E Participacoes S/A and Brasil Foodservice Manager S.A.                 Case number (1rknown), _ _ _ _ _ _ _ _ _ _ _ _ _ __
             Name


a. Others entitled to notice                     Attach a list containing the names and addresses of:
                                                 (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                                 (ii)   all parties to litigation pending in the Upited States in which the debtor is a party at the time of filing of this
                                                        petition, and
                                                                                                                                                                              1
                                                 (iii) all entities against whom provisional relief is being sought under§ 1519 of the Bankruptcy Code.


9. Addresses                                     Country where the debtor has the center of its                   Debtor's registered office:
                                                 main interests:


                                                Brazil                                                            Avenida Rio Branco, 181 29th Floor
                                                                                                                 Number        Street


                                                                                                                 P.O. Box

                                                                                                                  Rio de Janeiro
                                                                                                                 City            State/Province/Region    ZIP/Postal Code


                                                                                                                  Brazil
                                                                                                                 Country




                                                 Individual debtor's habitual residence:                         Address of foreign representative(s):



                                                                                                                  Avenida Rio Branco, 181 29th Floor
                                                 Number           Street



                                                 P.O. Box                                                        P.O. Box

                                                                                                                  Rio de Janeiro
                                                 City               State/Province/Region    ZIP/Postal Code     City            State/Province/Region    ZIP/Postal Code


                                                                                                                  Brazil
                                                 Country                                                         Country




10. Debtor's website (URL)



11. Type of debtor                               Check one:

                                                 !ti"   Non-individual (check one):

                                                          51    Corporation. Attach a corporate ownership statement containing the information
                                                                described in Fed. R. Bankr. P. 7007.1.

                                                          D     Partnership

                                                          D     Other. S p e c i f y : - - - - - - - - - - - - - - - - - - - - - -




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Debtor         Porcao Ucenciamentos E Participacoes SIA and Brasil Foodservice Manager S.A.                                                                                                                     Case nr.1mber (itJrnown), _ _ _ _ _ _ _ _ _ _ _ _ __
               Name



12. Why is venue proper in this                                    Check one:
   district?                                                       D             Debtor's principal place of business o~.principal assets in the United States are in this district.
                                                                   D             Debtor does not have a place of business or assets in the United States, but the following
                                                                                 action or proceeding in a federal or state court is pending against the debtor in this district:


                                                                   li2I          If neither box is checked, venue is consistent with the interests of justice and the convenience
                                                                                 of the parties, having regard to the relief sought by the foreign representative, because:
                                                                                   Debtor possess assets within the District.


13. Signature of foreign
   representative(s)                                               I request relief in accordance with chapter 15 of title 11, United States Code.

                                                                   I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                                                   relief sought in this petition, and I am authorized to file this petition.

                                                                   I have examined the information in this petition and have a reasonable belief that the
                                                                   inforfiiiation is true and co~\ect.
                                                                                  \                      '"·
                                                                   I decl~re und~r penalty of qerjury that the foregoing is true and correct,
                                                                                                                                                    \\                                             .


                                                                                   '\(·.'/ ..
                                                                    X \ > '\" \·v'°"'
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                                                                                                                                                 ···-·\!
                                                                               ·,{~·"'.\, ·~\..,"
                                                                                    \        , , ,/ ", ) '                        .         .. I   ,. _,,f                                                                              Renan Miguel Saad
                                                                                        \_    ·,                            "'   ·.,..        \..        /\
                                                                             Sig~atuze of foreign rep'(!\sen\ative                                                                                                                      Printed name


                                                                   Execut~~                        on'\\;/;                              '~ \)i; \· ·)
                                                                                                                                           ·)
                                                                                             \'.:                    J MM /DD/                      Y'f'¥

                                                                     x \ ~;\:,>:c~~c,-C~J
                                                                             Signi1u're of foreign                                       repr~se~tative                                                                                 Printed name
                                                                                                   \     \                                                    '
                                                                                                   \\                      ~;          \
                                                                    Executed                           ciJ\   ~
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14. Signature of attorney                                                                          v//Jv.v- G                                                           CL~                                                             Date                       0        -r /o 2/VJ /1
                                                                               Signature of Attorney for foreign representative                                                                                                                                     MM               /DD/YYYY


                                                                            Warren Gluck
                                                                             Printed name
                                                                           -Holland & Knight LLP
                                                                             Firm name
                                                                            31 W. 52nd St.
                                                                              Number                                     Street
                                                                            New York                                                                                                                                                         NY                                    10019
                                                                             -'c..::Jty~-'--''-'-'-'----------------                                                                                                                              State                                  ZIP Code


                                                                             (212) 513-3200                                                                                                                                                        warren.gluck@hklaw.com
                                                                             Contact phone                                                                                                                                                        Email address




                                                                             4701421                                                                                                                                                               NY
                                                                              Bar number                                                                                                                                                          State


                                    ;;':::.;:;;;::::'::::<:v.:.<:;;:,:o.11••=:1.:!..1:.1:"''''~''-'"'""l'""''""''r.r0 '~"''" """'''""'""''~:::: i:::::~:::i~: ::<>::: ::::::·:::"::::>--~::;:>:;,::::.:a::: =~"'""'""'"-'-"<''"'"·"~'"''·'"''"~~"'"'"'M'""''"'"'"'"'"'"'""'"'"'""'"""'°''"'-'"""':::;::::<::<:>1~1!:<•;:;":."'"~'"'"""""~'~'~'-'l>ll""'"'..,'"'"''"'~'~u•• '''"''~'"'"'"'~'n




  Official Form 401                                                             Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                                                                                                            page 3
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
                                                      :
In re:                                                :             Chapter 15
                                                      :
PORCÃO LICENCIAMENTOS E                               :             Case No. 19 -
PARTICIPACÕES S/A                                     :
                                                      :
         AND                                          :
                                                      :
BRASIL FOODSERVICE MANAGER                            :
S.A                                                   :
                                                      :
         Debtors in a Foreign Proceeding              :
------------------------------------------------------x

                LIST FILED PURSUANT TO BANKRUPTCY RULE 1007(a)(4)

        I, Renan Miguel Saad, duly appointed trustee and foreign representative (“Trustee”) of the

bankruptcy estate of Porcão Licenciamentos e Participacões S.A. (“Porcão”), and its holding

company, Brasil Foodservice Manager S.A. (“BFM”), a Brazilian bankruptcy estate under the

supervision of the 7th Commercial Court of Rio de Janeiro (the “Rio Court”), Cause No. 0411258-

46.2014.8.19.0001, in liquidation as a result of the Rio Court’s order, issued pursuant to Article

94 (I) of Law 11.101/2015, hereby submits the following information as required by Rule

1007(a)(4) of the Federal Rules of Bankruptcy Procedure, which provides:

        In addition to the documents required under § 1515 of the Code, a foreign
        representative filing a petition for recognition under chapter 15 shall file with the
        petition: (A) a corporate ownership statement containing the information described
        in Rule 7007.1; and (B) unless the court orders otherwise, a list containing the
        name and address of all persons or bodies authorized to administer foreign
        proceedings of the debtor, all parties to litigation pending in the United States in
        which the debtor is a party at the time of the filing of the petition, and all entities against
        whom provisional relief is sought under § 1519 of the Code.

Fed. R. Bankr. P. 1007(a)(4).
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                          Statement under Fed. R. Bankr. P. 7007.1

       The Trustee hereby states that the following Brazilian corporations are shareholders of

Porcão: BFM owns 52%, and Instituto de Gestão Previdenciária do Tocantins and Instituto Serpos

collectively own 20.29%. No other company currently owns 10% or more of Porcão’s shares.

     Name and Address of the Trustee in the Foreign Proceeding of the Foreign Debtor

       The following individual, with the corresponding business address, has been duly

appointed as the Trustee by the Rio Court:

         Renan Miguel Saad                          Avenue Rio Branco, 181
                                                    29th Floor, Rio de Janeiro
                                                    Brazil, 20040-007




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               All Parties to Litigation in which the Foreign Debtor Is a Party that Is
                Pending in the United States at the time of the Filing of the Petition

           There is no known pending litigation in the United States in which the Foreign Debtor is

a party.

        All Entities Against Whom Provisional Relief Is Sought under 11 U.S.C. § 1519

           The Trustee is not seeking provisional relief.



           I declare, under penalty of perjury under the laws of the United States of America, that the

rfl   rmatio    set fotth above is based on my current knowledge, information and belief after

reason ble i      u'ry, and in contemplation of and subject to supplementation, true and con-ect.




                                                      -
                                               HOLLAND & KNIGHT LLP

                                               Isl Warren E. Gluck, Esq.
                                               Warren E. Gluck, Esq.
                                               Trisha M. Rich, Esq. (pro hac pending)
                                               HOLLAND & KNIGHT LLP
                                               31 West 52nd Street
                                               New York, NY 10019
                                               Phone: 212-513-3200
                                               Fax:212-385-9010
                                               warren.gluck@hklaw.com
                                               trisha.rich@hklaw.com

                                               Counsel for the Trustee of the Bankruptcy Estate of
                                               Porcao-BFM




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                             POder lucHd 6 rto do Estado do Rio de Janeiro

                                lulzo de Dlreito da 7 • Vara Empresarial

                                          Comarca da capttal



                                              DECislo




           Admlnistrador Judicial, como se sabe, e um auxlliar do Julzo da
            0
  recupera~o. uma pessoa de confianya do magistrado, que o ajudara na condu<;ao
  do processo. A confianlia no trabalho do AJ e fundamental nessa rela<;ao. como
  fartamente ressalta a doutrina e a jurisprud~ncia sobre o tema.

       Confiram-se as palavras de Fabio Ulhoa Coelho: "O administrador judicial e
 escolhido pelo juiz e sera sempre uma pessoa de sua confian(fa com a incumbencia
 de o auxiliar na administra~o da massa falida" (Comentarios a Lei de Fal~ncias,
 11• edi~o. RT, pagina 102)

       Nesse senlido, vale conferir alguns julgados:



      AGRAVO DE INSTRUMENTO. FALtNCIA E RECUPERA<;Ao
      JUDICIAL.        ADMINISTRADOR            JUDICIAL.      DESTIT~l<;AO.
      POSSIBILIDADE. ART. 30 DA LEI 11 . 10112005: .... 3. 0 ponto pnmord1al
                                                                      e
         ra escolha do administrador judicial pelo Mag1strado que aquele goze
      pa      fl      deste portanto havendo a quebra da confianya a
      da con ~"f desta ~ 0 afasta~ento do adminlstrador das funyOes para
      consequ ~ca        d   T JRS Al 70045459880, Quinta C~mara C1vel.
      a qual fo1 nomLe.a Lo.    do .Canto Julgado em 14/ 1212011
      Relator: Jorge u1z opes             ·
                                                                             l\\



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          AGRAVO       DE       INSTRUMENTO.         DIREITO        EMPRESARIAL.
          RECUPERA<;Ao JUDICIAL. ADM1NISTRADOR. AUXILIAR DO JUIZ.
          NOMEA<;Ao E DESTITUl<;Ao . CRITER IOS SUBJETIVOS DO
          MAGISTRADO.        QUEBRA         DE    CONFIAN<;A.        DESTITUl<;AO.
          POSSIBILIDADE. PRECEDENTES. RECURSO IMPROVIDO. 1. 0
         administrador judicial figura corn o um dos auxiliares do juiz na condu<;ao
         da recupera9ao judicial. Desta forma, possui papel importante no
         process~ de recupera9ao judicial, de modo que a falha na presta9ao de
         suas obnga9oes pode originar consequencias, como a destitui9ao. 2. Em
         sendo o administrador um dos auxlliares do Juiz, pode ser nomeado, e
         tambem destituido, mediante criterios subjetivos do magistrado. 3. Desta
         form~ '. e sabendo que o criteria para escolha e manuten9ao do
         adm1mstrador judicial e a rela9ao de confian9a entre ele e o magistrado,
         em havendo quebra da confianya a consequencia 16gica .e o _seu
         afastamento do munus. TJPE - Al : 3728409 PE Relator: Jones Figueiredo,
         Data de Julgamento: 18/06/2015, 4a Camara Cfvel, Data de Publicayao:
         09/07/2015

          EMENTA: AGRAVO DE INSTRUMENTO - RECUPERA<;AO JUDICIAL -
         ADMINISTRADOR - AUXILIAR DO JUIZ - DESTITU l<;AO EX OFFICIO -
          INTELIGtNCIA DO ART. 31 DA LEI DE RECUPERA<;AO JUDICIAL -
         DISCRICIONARIEDADE DO MAGISTRADO - POSSIBILIDADE -
         DECISAO MANTIDA -RECURSO NAO PROVIDO. 1. Nos termos do art.
         31 da Lei de recuperayao Judicial, o juiz, de oficio ou a requerimento
         fundamentado de qualquer interessado, podera destituir o administrador
         judicial, no caso de desobediencia aos preceitos desta Lei,
         descumprimento de deveres, omissao, negligencia ou pratica de ato lesivo
         as atividades do devedor OU a terceiros. 2. 0 administrador e um auxiliar
         do Juiz, e sua destituiyi!o ou nomeayao se submete a discricionariedade
         do magistrado. TJMG, Al 0541809-51 .2015.8.13.0000, Relator(a): Des.(a)
         Raimundo Messias Junior, Data de Julgamento: 05/07/2016)



          A confian9a no trabalho do AJ e fundamental, pois auxilia o Julzo em
   multiplos aspectos, sendo verdadeiro longa manus do Julzo Universal. Assim a
   substitui9ao nao revela qualquer demerito ao Administrador Judicial atual a ser
   substituido, que e escrit6rio de advocacia renomado

        Assim, substituo Marcello Macedo Advogado Advogados pelo Escrit6rio de
  Advocacia SAAD Advogados Associados representado perante este Julzo na
  pessoa do Dr. Renan Miguel Saad , a ser encontrado no telefone (21) 2217-1700
  www.saadadvogados.com, considerando a expertise.

                                                                ~

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                                                                                     Ill


          lntimem-se para dizer se aceita           o encargo e, em caso positivo, para
    assinarem os termos de compromlsso.



          Ao Administrador Judicial substltuldo sera remunerado na forma do artigo 24
    paragrafo 3° da Lei 11 .101/05, devendo as pr6ximas prestai;:oes serem direcionadas
    ao novo nomeado.

    D~se ainda ciencia ao douto Administrador substitufdo e ao Ministerio Publico.


   Publique-se. 1-se.




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                                                                                                     6226
                                                                                                        I

                                                  [Seal]
                                 Judicial Branch of Rio de Janeiro State
                                            7th Business Court
                                   Judicial District of the Capital City


                                               DECISION



         The Bankruptcy Trustee is an assistant to the Reorganization Court; he is a person who has the
judge’s trust, who will help him conduct the process. Trust in the Bankruptcy Trustee’s work is essential
in this relationship, as abundantly emphasized in the legal doctrine and jurisprudence on this matter.

        The words of Fabio Ulhoa Coelho are confirmed: “The legal trustee is chosen by the judge and
will always be a person of his trust, who is given the assignment to assist in the administration of the
bankruptcy estate” (Comentários à Lei de Falências, 11th edition, RT, page 102).

In regard to this, it is worth noting some judgments:



        INTERLOCUTORY APPEAL. BANKRUPTCY AND JUDICIAL REORGANIZATION. BANKRUPTCY
        TRUSTEE. REMOVAL. POSSIBILITY. ART. 30 OF LAW 11,101/2005. …3 The main point in the
        choice of the bankruptcy trustee by the Judge is for the former to be trusted by the latter;
        therefore, in the event that trust is lost, the consequence of this loss must be the removal of the
        trustee from the functions for which he was appointed. TJRS, AI 70045459880, Fifth Civil
        Division, Reporter: Jorge Luiz Lopes do Canto, judged on 12/14/2011.

                                                                                                  [Initials]

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                                                                                                    6227
                                                                                                       II

       INTERLOCUTORY APPEAL. BUSINESS LAW. JUDICIAL REORGANIZATION. BANKRUPTCY TRUSTEE.
       ASSISTANT TO THE JUDGE. APPOINTMENT AND REMOVAL. SUBJECTIVE CRITERIA OF THE JUDGE.
       LOSS OF TRUST. REMOVAL. POSSIBILITY. PRECEDENTS. APPEAL DENIED. 1. The bankruptcy
       trustee is one of the assistants of the judge in his handling of the judicial reorganization.
       Therefore, he plays an important role in the judicial reorganization process, so failure to carry
       out his obligations can lead to consequences such as removal. 2. Since the judicial trustee is one
       of the assistants of the judge, he can be appointed, and also removed, at the subjective
       discretion of the judge. 3. Therefore, and knowing that the criteria for the choice and
       maintenance of the judicial trustee is the relationship of trust between him and the judge, if
       there is a loss of trust, the logical consequence is his removal from the position. TJPE-AI:
       3728409 PE Reporter: Jones Figueirêdo. Date of Judgment: 6/18/2015, 4th Civil Division, Date of
       Publication: 7/9/2015



       SUMMARY: INTERLOCUTORY APPEAL – JUDICIAL REORGANIZATION – BANKRUPTCY TRUSTEE –
       ASSISTANT OF THE JUDGE – REMOVAL BY OWN INITIATIVE – UNDERSTANDING OF ART. 31 OF
       THE BANKRUPTCY ACT – DISCRETION OF THE JUDGE – POSSIBILITY – DECISION UPHELD –
       APPEAL DENIED. 1. Pursuant to the terms of Art. 31 of the Judicial Reorganization Act, the judge
       may, whether on his own initiative or upon a grounded request by any interested party, remove
       the bankruptcy trustee in the event he disobeys the precepts of this Law, there is a violation of
       duties, omission, and negligence, or of an act harmful to the activities of the debtor or to third
       parties. The trustee is an assistant of the Judge, and his removal or appointment is at the judge’s
       discretion. TJMG, AI 0541809-51.2015.8.13.0000, Reporter: Justice Raimundo Messias Júnior.
       Date of Judgment: 7/5/2016)



        Trust in the work of the Bankruptcy Trustee is essential, since he assists the Court in many
aspects, and is the veritable “long arm” of the Bankruptcy Court. Therefore, his replacement does not
represent any discredit to the current Bankruptcy Trustee to be replaced, which is a well-respected law
firm.

        Thus, I replace Marcello Macêdo Advogado Advogados [sic] with Advocacia SAAD Advogados
Associados, represented before this court in the person of Dr. Renan Miguel Saad, who can be reached
at the phone number (21) 2217-1700, www.saadadvogados.com, considering his expertise.




                                                                                                 [Initials]

                                                                                                         2

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                                                                                                      III



       Make the notification for him to indicate whether he accepts the appointment, and if so, to sign
the commitment statement.



       The replaced Bankruptcy Trustee will be compensated in accordance with Article 24 (3) of Law
11,101/05, and the next payments shall be made to the new trustee appointed.

Notify the replaced Bankruptcy Trustee and the Prosecutor’s Office.



Publish and notify.




                       Rio de Janeiro, March 28, 2018



                               [Signature]

                       Ricardo Lafayette Campos

                               Judge




                                                                                                      3

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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------x   r

    In re:                                                             Chapter 15

    PORCAO LICENCIAMENTOS E                                            Case No. 19 - _ __
    PARTICIPA<";OES S/A
                                                         ·~
              AND

    BRASIL FOODSERVICE MANAGER
    S.A.

              Debtors in a Foreign Proceeding
    ---------------------------------------------------------------x

         VERIFIED PETITION FOR RECOGNITION OF FOREIGN INSOLVENCY
      PROCEEDING AND APPLICATION FOR ADDITIONAL RELIEF PURSUANT TO
    SECTIONS 1504, 1507, 1509, 1515, 1517, 1520 AND 1521 OF THE BANKRUPTCY CODE

              Renan Miguel Saad, duly appointed trustee and foreign representative ("Petitioner" or

    "Trustee") of the bankruptcy estate of Porcao Licenciarnentos e          Participa~oes   S.A. ("Porcao")

    and its holding company, Brasil Food Service Manager S.A. ("BFM") (collectively the "Porcao-

    BFM Estate"), a Brazilian bankruptcy estate under the supervision of the 7th Commercial Court

    of Rio de Janeiro, (the "Rio Court"), Cause No. 0411258-46.2014.8.19.0001 (the "Brazilian

    Liquidation"), as a result of the 7111 Commercial Court's order (the "Brazilian Bankruptcy

    Order") filed pursuant to Articles 94 (I) and 99 (I) of Law 11.101 /2005 (the "Brazil Bankruptcy

    Act" or "BBA"), by its undersigned United States counsel, Holland & Knight LLP, respectfu1ly

    submits this motion (the "Motion"), seeking entry of an Order, substantially in the form attached

    hereto as Exhibit A (the "Proposed Order"): (i) approving the notice of filing of the Official

    Form Petition and this Verified Petition, and the accompanying Declaration ofRenan Miguel Saad,

    and the exhibits thereto, executed on March 28, 2019 (the "Saad Declaration"), the accompanying            r
    (File: 0007 11 5 1.DOCX / 1}
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   Declaration of Joao Accioly, and the exhibits thereto, executed on April 12, 2019 (the "Foreign

   Counsel Declaration"), for entry of an order pursuant to Chapter 15 of Title 11 of the United
                                                             r
   States Code, 11 U.S.C. § 101 et seq. (the "Bankruptcy Code"):

             (i)        recognizing the Brazilian Liquidation as a foreign main proceeding, pursuant to
                        sections 1517(a) and (b)(l) of the Bankruptcy Code;

             (ii)       recognizing the Trustee as Porcao-BFM's foreign representative under 11 U.S.C. §
                        1509 and l517(a);
                                                                 ~




             (iii)      granting automatic relief pursuant to sections 1520 and 1521 of the Bankruptcy
                        Code to the Trustee; and

              (iv)      granting such other and further relief as the Court may deem just and proper.

                                        PRELIMINARY STATEMENT

             l.         This Court previously has noted that "[ u]nique to the Bankruptcy Code," chapter

   15 contains a statement of purpose, which is: "to incorporate the Model Law on Cross-Border

   Insolvency so as to provide effective mechanisms for dealing with cases of cross-border insolvency

          " In re Oi Brasil Holdings Cooperatief UA. , 578 B.R. 169, 193 (Bankr. S.D.N.Y. 2017)

   (citing 11 U.S.C § 1501(a)).           Accordingly, when "interpreting Chapter 15" the court shall

   " consider its international origin, and the need to promote an application of this chapter that is

   consistent with the application of similar statutes adopted by foreign jurisdictions." Id. (citing 11

   u.s.c. § 1508).
             2.         Among the express objectives of Chapter 15 is to promote the " fair and efficient

   admini~tratio_!.1    of cross-border insolvencies that protects the interests of all creditors, and other

   interested entities, including the debtor[.]" 11 U.S.C . § 150 l(a)(3) . Therefore, " Chapter 15 ...

   provides courts with broad, flexible rules to fashion relief that is appropriate to effectuate the

   objectives of the chapter[.]" In re Oi S.A., 587 B .R . 253, 264 (Bankr. S.D.N.Y. 2018). ~




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                3.       The Second Circuit has "frequently understood the importance ofjudicial deference

    to foreign bankruptcy proceedings," as "the equitable and orderly distribution of a debtor's
                                                                  r
    property requires assembling all claims against the limited assets in a single proceeding; if all

    creditors could not be bound, a plan of reorganization would fail." In re Agrokor d.d. , 591 B.R.

    163, 184 (Bankr. S.D.N.Y. 2018) (emphasis in original) (citations omitted); see also Jn re Platinum

    Partners Value ArbUrage Fund L.P., 583            B.R'.~ 803 ,    809 (BanJcr. S.D.N.Y. 2018) (citation omitted)

    ("Comity plays a significant role in cross-border insolvency proceedings.").

                4. The Trustee requests recognition of the Brazilian Liquidation as a foreign mam

    proceeding to ensure that any assets in the United States, including but not limited to assets owned

    by former managers and employees of Porcao-BFM that have been subject to criminal proceedings

    in Brazil, and claims the Trustee holds against these parties and others, are properly administered,

    and the Trustee is enabled to commence              ~ny   relevant or appropriate litigation or discovery in

    United States Courts.

                5. Since his appointment on March 28, 20 18, the Trustee is currently investigating the

    assets and potential claims of Porcao-BFM against former managers and employees in order to fill

    in the estimated outstanding balance/debt ofR$ 580 million (US$ 145 million 1) .

                6.       As this Petition, the accompanying declarations, and the exhibits thereto

    demonstrate, the Brazilian Liquidation should be recognized as a foreign main proceeding, as

    Brazil is the center of main interests ("COMI") of Porcao-BFM.

                7.       The Trustee seeks precisely the type of relief that Chapter 15 was designed to

    provide, and the Brazilian Liquidation and this Petition meet al l the requirements for recognition

    and the requested relief. In particular, on March 28 , 2018, the Rio Court appointed the Trustee to{\.



     1 All   currency figures in this document are based upon a USD - BRL FX rate ofUS$0.25 = R$ l .

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    administer, manage, and pursue the estate of Porcao-BFM, including any assets, liabilities, and

    any ongoing business occurring in connection with the Brazilian Liquidation pursuant to the Brazil

    Bankruptcy Act.

               8.         Moreover, the Trustee is empowered to negotiate and resolve outstanding disputes

    with any of Porcao-BFM's creditors.

               9.         Likewise, the Brazilian Liquid'ation is a collective judicial proceeding as referenced

    in 15 U.S.C . § 101(23), subject to the oversight and control of the Rio Comt, encompassing all

    creditors and stakeholders of Porcao-BFM, which is pending in Brazil, the country in which

    Porcao-BFM maintains its COMT. Porcao-BFM was formed in Brazil, maintains its registered

    office there, a nd owns or owned the real property therein.

               10.        Pursuant to section 1516(c) of the Bankruptcy Code, Brazil is presumed to be

    Porcao-BFM's COMT because both corpor~tions were incorporated and maintain their registered

    office in Brazil. Brazil is also presumed to be the COMI of Porcao-BFM, as the Trustee administers

    the Brazilian Liquidation from Brazil under the supervision of the Rio Court.

               11.        Ultimately, since its origins and as of today, Brazil has been and remains the

    obvious and demonstrable "nerve center" of Porcao-BFM. Hence, the Brazilian Liquidation is a

    "foreign main proceeding" within the meaning of sections 101(23), 1502(4), 15l6(c), and

    1517(b)(1) of the Bankruptcy Code.

               12.        This District and others have recognized similar liquidation proceedings by

    Brazilian entities, as foreign main proceedings under similar circumstances. See, e.g., Oi S.A., 587

    B.R. at 257 (granting recognition of Brazilian liquidation as foreign main proceeding in part

    because debtor' s COMI was Rio de Janeiro); In re Massa Falida do Banco Cruzeiro do Sul SA.,

    567 B.R. 212, 217 (Bankr. S.D. Fla. 2017) (recognizing Brazilian liquidation of a Brazilian bank               0
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   that had been placed in official liquidation); In re Petroforte Brasileiro Petr6leo Ltda., 530 B.R.

   503, 506 (Bankr. S.D. Fla. 2015) (recognizing Brazilian liquidation as foreign main proceeding);

   OAS SA., 533 B.R. at 106 (recognizing Brazilian liquidation as foreign main proceeding even

   though debtor's registered office was located in Austria, as Brazil remained the COMI because its

   "nerve center and headquarters remained in Brazil" and the debtor' s employees and advisors

   resided in Brazil); Jn re Rede Energia SA., 51S.B.R. 69, 88 (Bankr. S.D.N.Y. 2014) (recognizing

   Brazilian liquidation as foreign main proceeding); In re Banco Santos, SA., No. 10-47543-BKC-

   LMI, 2014 WL 5655025 , at *1 (Bankr. S.D. Fla. Nov. 3, 2014) (recognizing the Brazilian

   extrajudicial liquidation of a Brazilian as foreign main proceeding and appointing trustee as foreign

   representative).
                                                                       '
              13.        For all of these reasons and as will be shnwn below, the Trustee respectfully

   submits that: (i) the Brazilian Liquidation is -a foreign main proceeding within the meaning of

   sections 101(23) and 1502(4) of the Bankruptcy Code; (ii) the Trustee is the duly appointed foreign

   representative of Porcao-BFM within the meaning of section 101 (24); (iii) the Trustee and the

   Petition comply with all the requirements of section 1515 and Bankruptcy Rule 1007(a)(4); and

   (iv) recognition of the Brazilian Liqu idation would not be contrary to public policy under

   Bankruptcy Code section 1506.

              14.        Under the circumstances, this Court can and shou Id enter an order recognizing the

   Brazilian Liquidation as a foreign main proceeding under section l 5 l 7(b)(1), appointing the



                                                                               r
   Trustee as the foreign representative as understood in section 10 l (24 ), and granting additional

   relief as set forth in sections 1507 and 1520 of the Bankruptcy Court.



                                             .JURISDICTION AND VENUE



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              15. This Court has jurisdiction over this matter pursuant to 28 USC §§ 157 and 1334, and

    11 use§§ 109 and 1501.

              16.
                                                                   .
                       The venue of this proceeding is proper in this District pursuant to 28 U.S.C. § 1410.

              17.      This is a core proceeding under 28 U.S.C. § 157(b)(2)(P).

                                         FACTUAL BACKGROUND
             A.        The Parties                    ..   '


              18.      Porcao' s business was founded in_ 1975 by Neodi Luis Mocellin ("Neodi

    Mocellin") along with his cousin Vladimir Jose Mocellin ("Vladimir Mocellin").

              19.      Porcao's registered office is located at Avenida das Americas, no. 3.500, Ediffcio

    Le Monde, Block 2, Room 241 , Barra da Tijuca, Rio de Janeiro, Zip code 22.640-102.

             20.       Porcao owned and operated a chain of steakhouses targeted to upper and upper

    middle-income patrons in Brazil. Its business model became very successful in the 1980s, largely

    due to its varied and innovative menu, offering a combination of typical Brazilian steak and meats,

    as well as more healthy dietary options, served as a buffet of seafood, salads, and regional food

    selections.

             21.        ln the early 2000s, Porcao was the largest restaurant chain in Brazil and had

    locations in Portugal, United States and Italy. The brand was originally exported through

    franchising but eventually the franchise model was dropped due to difficulties in long-distance

    business management.

           -- 22. -    Porcao's financial demise can be summarized in four moments or phases: (i) it

    failed attempts at expanding the business overseas after the 2008 financial crisi s; (ii) significant

    management disputes and irregularities arising from a failed allegiance with BFM; (iii) loss of

    brand image leading to decreased cash flow; and (iv) misappropriation of pension funds obtained

    in an attempt to refinance the company.


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                B.          The 2008 financial crisis ruins plans of U.S. expansion
                23.         In 2008, and with a view to expanding the restaurant chain in the United States and

     reorganizing its management, Merrill Lynch acqtlired 49% of Porcao's shares.

                24.         However, the 2008 financial crisis forced Merrill Lynch to abandon its investment

     in the chain.

                25.         Merrill Lynch later sold its Pqrcao shares to businesses owned by Raphael de Melo

     Tavorn Vargas Franco Netto e Jose Ricardo Tos tes Nunes Martins, the owners of another

     renowned Brazilian restaurant chain, "Garcia e Rodriguez" . After acquiring an additional 4% of

     the shares in Porcao from a third partner, Vargas and Tostes, acting through BFM' s predecessor

     BFG, became the control ling shareholders of the group.

                C.          Management disputes and decreasing cash flow

                26. Before becoming controlling shareholders, Vargas and Tostes were bitter rivals of

     Porcao's founders. Indeed, Garcia e Rodriguez and Porcao had been on opposite sides oflitigation

     involving one of Porcao' s major restaurants, located in front of Rio de Janeiro's Pao de Ayucar.

                27. Although the litigation was resolved in the same year BFG acquired the company, the

     friction between the new owners and the old owners led to increasing disputes between employees

     and the new management.

                28. As part of a plan to cut costs and reorganize accounting, the new owners laid off senior

     employees, some of which were relatives of the Mocel lin founders. In an attempt to end the

     conflict, BFG proposed .buying the family's participation for R$ 45 million. Instead of resolving

     the dispute, however, the attempted compromise led to another lawsuit, with both sides claiming

     failure to perform on the contract.

                D.          Loss of brand image

                29.         The combination of employment disputes and the accumulating financial problem}

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    led to employee strikes and lawsuits, which not only eroded the company's funds but also caused

    a visible decrease in the quality of service.
                                                             r
              30.       Customers promptly started reporting that the restaurants would not offer its

    signature foods, including the famous picanha.

              31.       This loss of brand image led to a drop of 30% in sales in only two years.

              32.       From January to September last year, the group suffered a loss of R$ 137 million

    (US$ 34.25 million).

              E.        Allegations of fraud and misappropriation of public funds

              33.       The BFG controllers attempted to rescue Porcao by raising new money to inject

     into the business by selling convertible debentures2 ("CDs") to municipal pension funds in Brazil.

              34.       In theory, Porcao was expected to use the-proceeds of the sales of CDs to finance

    the expansion of its business and increase the number of steak houses managed under the brand.

              35.       However, on information and belief, substantial portions of the proceeds of CD

    sales were improperly dissipated.

              36.       Moreover, the restructuring was challenged in courts by Rio 's State Prosecutor,

    who claimed the pension funds could not invest in securities other than federal public securities.

              37.       The sale of Porcao CDs and shares involved NSG Capital Servi9os Financeiros

    DTVM S.A. ("NSG Capital"). NSG Capital's role was to issue and place the Porcao CDs with

    different entities, including Institute de Gestao Previ.denciaria do Tocantins ("Igeprev") 3 which

     invested a total ofR$ 460 million (US$ 115 million).

              38.       Porciio brought suit seeking to force Igeprev to complete a R$ 47 million (US$A



    2
      A convertible debenture is a debt that can be converted to equity at a specific price in the event of any
    default on the debtor's part.
    3
      Igeprev was the pension fund for the Brazilian state of Tocantins.

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        11.75 million) investment in the group. This lawsuit was filed in 2016, at a time when it should
I
        have been clear to Brazal-Porcao executives that the company was facing difficulty. Management
                                                          r
        sti ll saw fit to pursue substantial investment in the company when, in all likelihood, it would not

        have been able to return that investment.

                  39.        Separate and apatt from Jgeprev, however, another pension fund for a state IT firm

        called Instituto Serpros ("Serpros") has also heavilyJ nvested in Porcao.

                  40.        Collectively, lgeprev and Serpros currently own 20.29% of the Porcao shares

        through their investment of approximately R$ 700 million (US$ 175 million).

                  41.        Upon information and belief, the former executives of lge.prev and Serpros actively

        colluded with Porcao executives to defraud the beneficiaries of the relevant pension funds as well

        as Porcao' s creditors.

                  42.        In particular, it is believed that Brazal-Porcao executives made illicit payments or

        bribes to Igeprev and Serpros executives, in order to facilitate these investments.

                  43.        There are several circumstances which support the views set out above. Firstly, it

        is noteworthy that Porcao has substantial outstanding li abilities and gaps in its accounting for

        which there is no other reasonable explanation.

                  44.        Additionally, the Labour Court of Rio de Janeiro recently dealt with a claim against

        Porcao filed by one of its employees. 4 The Court concluded that Serpros and Tgeprev were liable

        and w~re, i12_ fact, conspiring with Porcao at the corporate level in a manner emblematic of the

        fraudulent acts that have been discovered during the Trustee' s investigation.

                  45.        Accordingly, the court issued an asset freezing order over Serpros. A true and

        correct copy of the July 28, 2016 order of the Labour Court is attached hereto as Exhibit B.       0
        4
         See Case No. 0010829-98.2014.5.01.033, Regional Labor Appeals Court of the F irst Region, 33rd Labor
        Court of Rio de Janeiro.

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                   46.        Approximately R$ 640 million (US$ 160 million) in assets of Serpros were frozen

(       in this labour claim.

                   47.         On October 19, 2017, the same Labour Court rejected Serpros' motion to stay the

        execution order. A true and correct copy of the order denying the suspension of the asset freeze is

        attached hereto as Exhibit C.

                   48.        Further, an investigative artiC'le published by Reuters claims that Igeprev and

        Serpros are being investigated for possible involvement in other fraudulent activity in Brazil. A

        true and correct copy of the Reuters article, dated November 1, 2016, is attached hereto as Exhibit



                   49.        The Reuters article alleges a bribery scheme which may be linked to investments

        made by Serpros and fgeprev into a Rio de Janeiro hotel-which has been branded by the Trump

        Organization. ln total , the pension funds .invested R$ 130 million (US$ 32.5 million) in the

        developer responsible for building the hotel.

                   50.         The lead investigator is quoted in the Reuters article as suggesting that investments

        of the size and nature made by Serpros and Igeprev into the Trump project, contravene basic

        principles of diversification and liquidity. Simply put, a pension fund would not normally invest

        heavily in speculative and illiquid ventures like a hotel.

                   51.        Having regard to the aforementioned facts, it remains the Trustee's view that there

         is a real possibility that the Porcao was used to launder or dissipate funds obtained from Serpros

        and lgeprev.

                   52.         Tn 2011 , Porcao executed a Private Debt Confession Instrument with Hard Rock



                                                                                               h
        (the "Guarantee") . A true and correct copy of the Guarantee is attached hereto as Exhibit E.

                   53 .        Porcno failed to repay the amounts owed under the Guarantee.



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             54.       In 2013, Porcao and Hard Rock renegotiated the debt owed under the G.:rnrantee.

             55.       Porcao defaulted on the renegotiated Guarantee and, according to the Bankruptcy
                                                      •
    Judgment, incurred liability to Hard Rock in the amou·n rofR$ 6S2,400.87 (US$ 170,600.21).

             56.       The Trustee is reviewing the proofs of debt in the Brazilian Liquida1ion, but as of

    November, 2017, the claims filed by creditors thus far are npproximately R$ 125 million (US$

    31.25 million).                                   ..
             57.       The assets of Porcao-BFM estate are approximately R$ 100 million (US$ 25

    million).

             58.       When all of the outstanding liabilities are ultimately adjudicated, it is expected that

    Porcao-BFM's outstanding balance/debt to be in the region ofR$ 580 million (US$ 145 million).

             F.        Brazil Bankruptcy Act

              59.      The BBA is the primary law_governing the insolvency of corporations in Brazil.

    Bankruptcy proceedings can be voluntary or compulsory. In particular, a company's liquidation

    can be commenced either on the debtor's initiative or prompted by a creditor's claim. A liquidation

    is decreed upon the occurrence of any of the situations set forth in aiticle 94 of the BBA. Fore ign

    Counsel Declaration, ififl9.

              60.      If any of the above-mentioned situations occurs, the debtor will be presumed

    insolvent and a creditor may file a bankruptcy petition and force a debtor into liquidation. Foreign

    Counsel Declaration, if 20.
           -- 61.      Under the BBA, a company may enter into one of three insolvency proceedings: (i)

    an in-court judicial reorganization, (ii) an out-of-court reorganization, or (iii) a liquidation. Foreign

    Counsel Declaration, ~ 2 I.       f\
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               62.        Liquidation is a process aimed at collecting and distribliti·ng the assets of the debtor

    among its creditors, with due consideration to the priority ofclaims and the proportional allocation
                                                                 r
    of the earnings. Foreign Counsel Declaration,             ii 2 1.
               63.        The assets are sold through public auction unless the general meeting of creditors

    determines otherwise. In most cases, the disposed assets are free of any burden, and the purchaser

    does not succeed in the debtor's obligations, ihcluding its tax and labor-related liabilities. Foreign

    Counsel Declaration,           ii 31 .
               64.        Although there are no specific clawback rules in relation to an in-court judicial

    reorganization, some acts may be nullified vis-a-vis the bankruptcy estate, provided the act in

     question occurred within a 90 day period , or " legal term." Foreign Counsel Declaration,           iJ 32-33 .
               65.        A general principle underlying Brazilian insolvency is that claims of investors and

     creditors within the same class are treated      OQ.   a pari passu basis pursuant to article 126 of the BBA.

    Foreign Counsel Declaration, ii 35.

               66.        The disposal or encumbrance of assets is subject both to the Court's approval and

     to the approval of the Creditors Committee. Foreign Counsel Declaration, ii 38.

               67.        The Trustee has the authority to verify each of the debtor' s creditors by requiring

     proof of these claims, except for debts arising from an employment relationship, which are verified

     by courts specialized in labor and employment. The Trustee is also charged with publicizing the

     list of creditors in the Official Gazette and carrying out the sale of assets subject to approval by

     the court and the Creditors Committee. Foreign Counsel Declaration,              ii 41.
               68.        The original bankruptcy trustee was appointed with the liquidation decree of

    February 7, 2017. However, due to other professional obligations, he was unable to fulfill his duties

    and the Trustee was named as his replacement on March 28, 2018.r



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               69.        A duly appointed trustee has the following additional prerogatives in a liquidation

    proceeding:
                                                               r
                          a) inform, through an official department, when and where creditors shall have
                          daily access to the bankrupt's books and documents;

                          b) review the debtor's bookkeeping;

                          c) list processes taken and take
                                                        '•
                                                           over the judicial representation of the bankrupt
                          estate;

                          d) receive and open all mail addressed to debtor and deliver to debtor whatever is
                          not of the estate's regard;

                          e) provide a report on the causes and circumstances that led to bankruptcy within
                          40 days after execution of the term of agreement, renewable for the same period,
                          and such report shall provide all parties' criminal and civil liabilities;

                          f) collect the debtor's books and documents and draft the collection record;

                          g) evaluate all estate collected;

                          h) hire public evaluators upohjudicial authorization to evaluate the assets if trustee
                          believes it lacks technical skills;

                           i) carry out any acts required for asset settlement and payment to creditors;

                          j) request that the court grants the advanced sale of perishable goods or goods
                          subject to large depreciation or hazardous/costly conservation;

                          1) carry out all acts to conserve rights and actions, collect debts and record the
                          respective settlement;

                          m) redeem, for the benefit of the estate and upon court authorization, all pledged,
                          seized or legally collected goods;

                          n) represent the bankrupt estate in court, and hire an attorney at law, if applicable,
                          whose fees shall be previously agreed and approved by the Managing Committee;

                          o) file for all measures and diligences required for fulfillment hereof, protection of
                          the bankrupt estate or efficiency of administration;

                           p) provide a financial statement of the administration clearly listing revenue and

                                    t
                           expenses to the court no later than the I 0th day following the month which has
                          ended;




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                      q) deliver all assets and documents of the estate hcid by       trus~ee   to its successor,
                      under liabi lity risk;

                      r) render accounts at the end of the,proc~ss when   rep lacr~<l,   dismi-ssed or resign the
                      position.

    Foreign Counsel Declaration, ii 44.

              70.     The Brazilian Liquidation is a fair and equitable proceeding, as all creditors and

    interest holders of the Estate have an opportunity to be heard by the Rio Court and no creditor will

    be prejudiced because the proceeding is foreign-based.

              G.      Porcao and the Trustee's activities jn Brazil

              71.     Porcao was founded in 1975 and was formed as a corporation under the laws of

    Brazil.

              72.     As set forth in the Liquidation Decree, Porc~o's headquarters are located atAvenida

    <las Americas, no. 3.500, Edificio Le Monde, Block 2, Room 241, Barra da Tijuca,Rio de Janeiro,

    Zip code 22.640-102.

              73.     BFM was located at Avenida das Americas, no. 3.500, Edificio Le Monde, Block

    2, Room 211, Barra da Tijuca, Rio de Janeiro, Zip code 22640-102.

              74.     At al l relevant times, Pm;cao-BFM were incorporated aild condacted their primary

    activities in Brazil. They were thernfore properly governed by the laws of BraziL Further, most of

    the directors and shareholders are situated in Brazii. Thus, Brazil has been the "nerve center" of

    the company since its incorporation.

              75.     At all relevant times, Porcao-BFM's operations overseas have represented a very

    minor percentage of the company's business.

              76.     On June 7, 2010, Porcao dissolved its U.S. subsidiary, which became effective upon

    the fi ling of the Articles of Dissolution with the Secretary of State of Florida on June 10, 2010.

              77.     Although it is likely that certain assets may have been dissipated out of the structurA

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     and may be traced elsewhere, the known assets and accounts of the structure can be found in Brazil.

               78.         The debts and obligations, including the default under the Guarantee with Hard

     Rock that commence the liquidation, which resulted in Porcao and BFM being placed into

     liquidation, originated in Brazil.

               79.         Further, the majority of the work done in relation to the structure and post-

     liquidation has been conducted in Brazil. The Trustee operates out of an office in Brazil.

                80.        Lastly, creditors and banks with connections to Porcao and BFM have been advised

     to contact the Trustee in order to process claims and deal with assets. To that end, the Trustee has

     instructed the investigative team at ARC Consultoria e Projetos (a Brazilian firm) to assist with

     the recovery.

                81.        It is respectfully submitted that Brazil is clearly the COMT of Porcao and BFM and

     there is no basis for rebuttir~g the presumpti_on that Brazil is the COMT of Porcao and BFM.

                82.        In accordance with 11 U.S.C. §1515(c), the Trustee is aware of no other pending

     foreign insolvency proceedings except the Brazilian Liquidation in which Porcao or BFM is the

     subject of the proceeding.

                83.        In accordance with Bankruptcy Rule 1007-1, the Trustee is un&ware of any pending

     actions in the United States in which Porcao or BFM is named as a party. The Porcao-BFM estate

     does not seek provisional relief against any party at this time. The disclosures required under

     Bankruptcy Rule 7007.1 are attached hereto as Exhibit F.

                                                     ARGUMENT
     I.         THE BRAZILIAN LIQUIDATION SHOULD BE RECOGNIZED UNDER
                CHAPTER150FTHEBANKRUPTCYCODE

                84.        Section 1517 of the Bankruptcy Code mandates entry of an order recognizing a

     "foreign proceeding" if it appears that recognition will not undermine U.S. public pclicy and:      "(IY
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    such foreign proceeding for which reccgnition is sought is a foreign main proceedir.g or foreign

    non-main proceeding with?n the meaning of section 1502; (2) the foreign representative applying
                                                              r
    for recognition is a person or body; and (3) the petition meets the requirements of section 1515."

    11 U.S.C. § 1517(a).

              85.        Each of those requirements is met here, and entry of an order in the form of Exhibit

    1 to this Petition will significantly aid the Trustee's e_!forts to administer Porcao-BFM ' s assets and
    liabilities, and ensure a fair and equitable treatment of, and greater distributions to, Porcao-BFM' s

    creditors and interest holders.

              A.         The Brazilian Liquidation is a Foreign Proceeding and the Trustee is a Foreign
                         Representative

              86.        "As a threshold matter, the appointed representative of a fore ign debtor seeking

    recognition must establish that the proceeding is a 'foreign proceeding" ' (Jn re Ashapura

    Minechem Ltd., 480 B.R. 129, 135-36 (Bankr. S.D.N.Y. 2012)) within the mean ing of section

    101(23)            of         the    Bankruptcy        Code,        which        defines         a   foreign

    proceeding as :

                         a collective judicial or administrative proceeding in a foreign
                         country, including an interim proceeding, under a law relating to
                         insolvency or adjustment of debt in which proceeding the assets and
                         affairs of the debtor are subject to control or supervis_ion by a foreign
                         court, for the purpose of reorganization or liquidation.11 U.S:C.
                         § 101(23).


           ·- 87.-       The definition of"foreign proceeding" incorporates the term foreign representative,

    which the Bankruptcy Code in turn defines as "a person or body, including a person or body

    appointed on an interim basis, authorized in a foreign proceeding to administer the reorgai'1ization

    or liquidation of the debtor's assets or affairs or to act as a representative of such foreign

    proceeding." 11 U.S.C. § 101 (24). In the context of the liquidation of a Brazilian entity, this Court     f
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    has held that "the Bankruptcy Code does not require the judickt]         ?J:w~hodzatioi~   or _;:ppcintrnent of

    the foreign representative." OAS SA., 533 B.Rr at 95 (emphasis ac:ded) (pei:mittii'lg board of

    directors of debtor to appoint legal officer as foreign. representative under section 101 (24)).

              88.        There is no question that the Trustee and the Brazilian Liquidation satisfy each of

    these requirements.
                                                       '•


              89.        First, the Brazilian Liquidation is a-"'judicial proceeding in a foreign country,"

    Brazil, subject to the control and supervision of the Rio Court.

              90.        Second, the Rio Court must give express prior authorization to the Trustee to realize

    assets and settle any liabilities of Porcao-BFM.

              91.        Third, the Brazilian Liquidation of Porcao-BFM is subject to "a law relating to the

    insolvency or adjustment of debt." Indeed, the BBA -is Brazil's primary legislation governing the

    insolvency of corporations.

              92.        Finally, the Brazilian Liquidation is a "collective ... proceeding" because it

    "considers the rights and obligations of all creditors." See also, e.g:, In re Poymanov, 571 B.R. 24,

    33 (Bankr. S.D.N.Y. 2017) (noting that a foreign insolvency proceeding qualifies as a collective

    proceeding if it "considers the rights and obligations of all of a debtor's creditors, rather than a

    single creditor") (citations omitted); Ashapura Minechem Ltd., 480 B.R. at 136.

              93.        All claims against Porcao-BFM may be submitted in the Brazilian Liquidation and

    all cre'ditors-'can appeal the decisions of the Trustee directly to the Trustee, and subsequently to the

    Rio Court. All creditors have been publicly notified of the Liquidation Decree ar1d the Trustee is

    required to submit periodic financial repo11s on the progress of the Brazilian Liquidation.

              94.        Most important, the creditors of Porcao-BFM in the Brazilian Liquidation,

    irrespective of wh,e ther the creditors are Brazilian or foreign, are treated pari passu with respect        tor
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     satisfaction of their claims. Any transfers of the claims or obligations of Porcao-BFM by the

     Trustee does not diminish or otherwise modify the ri·ghts of the creditors in Porca.o-BFM's estate.
                                                               r
               95.       Finally, the Brazilian Liquidation is being administered by the Trustee, who was

     appointed over a year ago by the Rio Court in order to carry out the sale of Por~ao-BFM's assets

     and repayment of the creditors. As such, the Trustee qualifies as a "pe~son authorized in a foreign
                                                         '•

     proceeding to administer the reorganization or the liguidation of Porcao-BFM's assets or affairs",

     within the meaning of Section 101 (24).

               96.       As discussed above, this Court has found that official insolvency proceedings

     brought pursuant to the laws of Brazil qualify as a "foreign proceeding," and that the individual

     appointed to oversee the foreign debtor's estate qualifies as a "foreign representative" for purposes

     of section 101(23) and (24). See, e.g., Oi S.A., 587 B.R. at 257 (granting recognition of Brazilian

     liquidation as foreign main proceeding in part because debtor's COMI was Rio de Janeiro and

     appointing legal officer of the debtor as foreign representative); Massa Falida, 567 B.R. at 217

     (referencing 2014 order recognizing Brazilian liquidation of a Brazilian bank placed in official

     liquidation by and appointing trustee as foreign representative); Petrofoi'te Brasileiro de ·Petr6leo

     Lida., 530 B.R. at 506 (recognizing Brazilian liquidation as forei&m main proceeding and

     appointing trustee as foreign representative); OAS S.A., 533 B.R. at 106 (recognizing Brazilian

     liquidations as foreign proceedings even though the debtor's regi stered office was located in

     Austria,    a~Brazil         remained the COMI because its "nerve center and headquarters remained in

     Brazil" and all of the debtor' s employees and advisors resided in Brazil and appointing debtor's

     attorney-in-fact as foreign representative); Rede Energ;a S.A., 515 B.R. at 88 (recognizing

     Brazilian liquidation as foreign proceeding)..       f\
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             B.         The Brazilian Liquidation is a Foreign Main Proceeding

             97.        In the absence of evidence to the contrary, Porcao-BFM' s registered offices in
                                                          r             .

    Brazil are presumed to be its COMI. See OAS SA., 533 B .R. at 100 (citing 11 U.S.C. § f516(c)).

    Here, there is no such contrary evidence.

              98.       The Second Circuit has held "that a debtor's COM1 should be determined based on

    its activities at or around the time the Chapter 15 pe_t_ition is filed, as the statutory text suggests."

    In re Fairfield Sentry Ltd., 714 F .3d 127, 13 7 (2d Cir. 2013).

              99.       It is well-established that in determining an entity's COMI, the "COMI analysis

    permits consideration of any relevant activities, including liquidation activities and administrative

    functions ." Id. Courts consider any relevant factors, including: (i) the location of the debtor's

    assets; (ii) the location of the debtor's books and records;· (iii) the location of the maj ority of the

    debtor's creditors; (iv) the commercial expectations and knowledge of the debtor's creditors; (v)

    the location of those who actually manage the debtor; and (vi) the .!ocation of the debtor's

    headquarters. See, e.g., OAS S.A., 533 B.R. at l 00-101 (citation omitted) (describing consideration

    of the debtor's "nerve center" as including from where the debtor's activities are controlled).

              100.      Applying the foregoing factors to this case, there is nc ·doubt tl1'3t Porcao-BFM's

    COMI is Brazil. As an initial matter, a substantiaJ portion of Porcao-BFM's assets - bank

    accounts, real estate and ownership interests in subsidiaries - are located in Brazi I.

           _ 10 L       Under the circumstances, the Trustee submits that there is r.mp.te evideilce and

    precedent to support recognition of the Brazilian Liquidation as a ict"eigll inair. proceeding.

              C.        The Brazilian Liquidation Meets All Other Requirements for Recognition

              102.      In addition to being a foreign main proceeding brought by a duly appointed foreign

    representative, the Brazilian Liquidation meets all other requirements for recognition under section

    1515 of the Bankruptcy Code.

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              l 03 .    The public policy exception, which requires a " narrow :·eading," is inapplicable to

    the recognition of the Brazilian Liquidation. See Fairfield Sen.t1y, 714 F.3d at 139. This Court has

    previously concluded that "Brazilian bankruptcy law·meets our internat:ional standards of fairness

    and accords with the course of civilized jurisprudence" in that it is a "comprehensive bankruptcy

    law that in many ways mirrors our own." OAS S.A., 533 B.R. at i03 (quoting Rede Energia; 515

    B.R. at 69). The Brazilian Liquidation is conducted in acco rdance with the BBA, by a duly-

    appointed Trustee, who is subject to oversight by a competent court. Creditors are publicly notified

    of the financial status of Porcao-BFM, and their claims are considered pari passu without regard

    to nationality, can be appealed, ·and are not diminished by the transfer ·or other assumption of

    Porcao-BFM ' s assets or liabilities.

              104.      The Petition is accompanied by a copy of the Liquidation Decree, which evidences

    the eventual commencement of the liquidation of Porcao-BFM and the appointment of the original

    trustee. See Oil Brasil Ho/d;ngs, 578 B.R. at 194 (a Chapter 15 petifon " must be .accompanied by

    certain evidentiary documents that are presumed authentic in the absence of cor:it?ary evidence")

    (emphasis added). The Petition also is accompanied by a copy of the Appo:ntment Decree, which

    evidences the appointment of the Trustee by a competent co mt.

              105 .     The Petition is .also accompanied by a declarati.0n that contains a statement

    identifying all foreign proceedings with respect to the Brazilian Liquidation known to the Trustee.

    See 11 U.S.C. §§ 1515(b), (c) .

              106.      The Petition likewise is accompanied by a declaratic n. containing the information

    required by Federal Rule of Bankruptcy Procedure 1007, including the disclosures required by

    Federal Rule of Bankruptcy Procedure 7007. 1. The statement indicates .the <:l,"Sence of other

    persons or entities known to the Trustee authorized to administer foreign proceedings with respecth



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     to Porcao-BFM, and a list of all parties to litigation with Porcuo-BFM, in the United States. All

     documents supporting the Petitjon are in English. rSee 11 U.S.C . § 15!5(d).

                107.        For all of these reasons, this Court can and should find that all of the requirements

     for recognition of the Brazilian Liquidation as a foreign main procpeding l!n<ler Chapter 15 have

     been satisfied .

                   REQUEST FOR WAIVER OF LOCAL-BANKRUPTCY RULE 9013-l{a)
                 108.       It is respectfully requested that this Court waive.and dispense with the requirement

     set forth in Rule 9013-l(a) of the Local Rules for the United States Bankruptcy Court for the

     Southern District of New York that any motion filed by Porcao-BFM be nccompanied by a

     memorandum of law on the grounds that the relevant authorities .in $Upport of the Petition are

     contained herein.

                                          HEARING DATES AND NOTICES
                 109.       Section 1517(c) of the Banlauptcy Code requires thnt "[A] petition for recognition

     of a foreign proceeding be decided upon at the earliest possible tjr..e;." ,Bar:kruptcy Rule 2002 sets

     forth a twenty-one day notice requirement to parties .in interest with certain exceptions to approve

     the Petition. If no objections to this Petition are filed by the date ~~·dered for such objections, the

     Trustee requests that the Cour:t enter the proposed order recognizing the Braziiian Liquidation as

     a foreign main proceeding without a hearing pursuant to Local R;.i!e 2002-2. 'fh:.; Trustee and his

     counsel, however, are of course willing to appear and will be prepared to answer any questions

     that the Court may have.

                 110.       Subsection (q)(l) of Rule 2002 governs notice cf a petition for recognitiOn of a

     foreign proceeding. The Trustee does not currently seek provision~! relief nor is· there pending

     United States litigation.Nevertheless, out of an abundance of caution, the T mstee's first d~y filings ~




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     in this case have been served upon all of Porcao-BFM's c:-editors located in the u n=tcd States

     concurrently with the filing of this Petition, if any.

                   111.      No previous app lication for the   reli~f   requested in this Petition has been made in

     this or any other court in the United States.

                                                         CONCLUSION
                   WHEREFORE, the Trustee respectfully_ requests that this Court enter an Order,

     substantially in the form of Exhibit I to thi s Petition, granting the relief requested herein and such

     other and further relief as may be just and proper.



                   I declare, under penalty of perjury under the laws of the United States of America, that the

     information set forth above is based on my current knowledge, information and belief after

     reasonable inquiry,             a~c\in contemplation of and subject to supplementation, true and correct.
                           (\_        \ J
     Renan Mi!N,el               S~
       Dated: May 16, 2019                                 H OLLAND & K N1GHT LLP
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